AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

Eastern District of Wisconsin

 

United States of America

 

 

Vv. ) on
) CaseNo. | 4 | | Se
DEREK A. LIEBERGEN d.o.b. XX/XX/93 ) . mS

)
)

)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Derek A. Liebergen ;
who is accused of an offense or violation based on the following document filed with the court:

C1 Indictment O Superseding Indictment () Information Cl Superseding Information mw Complaint
[ Probation Violation Petition C1 Supervised Release Violation Petition Violation Notice [ Order of the Court

This offense is briefly described as follows:

On or about September 11, 2019, Derek A. Liebergen possessed with intent to distribute 500 grams of a mixture and
substance containing a detectable amount of methamphetamine, in violation of Title 21, United States Code, Sections 841
(a}(1), 841(b)(1)(A), and 846.

On or about September 11, 2019, Derek A. Liebergen knowingly possessed a firearm in furtherance of the drug trafficking
crime charged, in violation of Title 18, United States Code, Section 924(c). ey

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eee Issuing officer ’s signature

 

 

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City and state: bo Ree | j £

 

Return

This warrant was received on (date) Gg | [ 6 i t , and the person was arrested on (date) g | 16 / 19

at (city and state) As A [ ete A Jf
"4 .

Date: 9/16 [14 | A Ke

Arresting officer’s signature

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